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06/20/2019                                                                                                  Marissa A. Olean
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